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IN THE UNITED sTATEs DISTRICT coURT Hu~ ~UL“"
FoR THE wEsTERN DIsTRIcT oF TENNESSEE sr
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MID-SOUTH CHAPTER OF PARALYZED \MD_OFTN,MEMFHE

VETERANS OF AMERICA, et al»,

Plaintiffs,

NEW MEMPHIS PUBLIC BUILDING

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vs. ) No. 04-2353-M1v

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AUTHORITY oF MEMPHIS, et al., )

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Defendants.

 

ORDER GRANTING PARTIES' JOINT MOTION TO
EXTEND THE DEADLINES IN THE SCHEDULING ORDER

 

Before the court is the April 18, 2005, Parties' Joint Motion
to Extend the Deadlines in the Scheduling Order. For good cause
shown, the motion is granted. The following dates are established
as the final dates for:

JOINING PARTIES: June l, 2005

AMENDING PLEADINGS: June 1, 2005

COMPLETING ALL DISCOVERY: December 16, 2005
PLAINTIFFS' EXPERT DISCLOSURE: October 14, 2005
DEFENDANTS' EXPERT DISCLOSURE: Nbvember 16, 2005
FILING DISPOSITIVE MOTIONS: January 31, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All nmtions, requests for admissions, or other

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filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for non-jury trial, and the trial is expected
to last 3-4 days. The pretrial order date, pretrial conference
date, and trial date will be reset by the presiding judge.

At this time, the parties are uncertain as to whether this
case is appropriate for ADR. The parties will notify the court
after the close of discovery if it is determined this case is
appropriate for ADR.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a :motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

DIANE K. VESCOVO

UNITED sTA MAGISTRATE JT.LDGE
DATE : /<’ ;\’. 070 9 5

 

 

OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:04-CV-02353 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

Heather Anne Kirksey

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

Carrie Clark Thomas
SPENCEWALK, PLLC
One Commerce Square
Ste. 2200

1\/1emphis7 TN 38103

Robert L.J. Spence
SPENCEWALK

One Commerce Square
Ste 2200

1\/1emphis7 TN 38103

Fred E. Jones

CITY ATTORNEY'S OFFICE-Memphis
125 N. Main Street

Ste. 314

1\/1emphis7 TN 38103

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

William 13. Ryan

DONATI LAW FIRM, LLP
1545 Union Ave.

1\/1emphis7 TN 3 8104

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Robert 13. RolWing

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

